» “Case 2:21-cv-03912-JHS Document 1 Filed 09/01/21 Page 1 of 7

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Important Privacy Notice

eo

| ~.. Federal Rule of Civil Procedure 5.2 prohibits litigants in a non-habeas proceeding from — oe

submitting | documents that contain personal information. Unless the Court orders otherwise, .
in information i in Court filin Ss must be limited:as follows: ' HE

   

_ » Social security numbers, taxpayer: Lideniification numbers, and financial account numbers
must include only the last four: digits {e. Bs XXX-KX- 1234)

° Birth dates must include the year of birth only € g vex'0/2000).
: . Names of persons under the age of 18 must be indicated by initials only (e. B A B. 2.

You: are ‘responsible for protecting ‘the privacy, of this information in your filings. If your
= documents, including attachments, contain any information that does not comply with this rule,
oe please black out that information before sending your documents to the Court.

  

 
 

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UNITED STATES DISTRICT COURT.
EASTERN DISTRICT OF PENNSYLVANIA

 

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dd SEU COMPLAINT os
“Sp. MeCouwe {ff ee a a a Sry Ti Yes, o No a
FLANMERY O/CoNAO! Au. Os * (cheek one) mes

 

 

 

 

 

 

 

 

 

iin the space above enter the full namels) of the defendant(s ifyou
cannot fit the names of all of the defendants in the. space provided,
please write.“see attached” it the space above and attach an
additional sheet of paper with the 2 full list of names. The names
listed in the above caption must ‘be identical to’ those contained i in
Part f Addresses should not be included here, ) ONE

 

L Parties i in ‘this complain ee

 

A. . > List your name, , address aid telephone number. Lf you are presently in custody, include your identification
number and the name and address. of your current place of confinement. Do the same for any additional
_ plaintiffs named. Attach additional sheets of paper as necessary.

 

Plaintiff. - : : Name Co eek aM YOME _ hth,
- Street Address Be : if oY LAUUCE Si.
County, City a ae : we
State & Zip Code. 2 - - ) Ke it + LLA
Telephone Number o . a S CI. O9f- x

 

 

Rev. 10/2009

 

 
 

   

“Case 2:21-cv-03912-JHS ‘Document 1 Filed 09/01/21. Page 30f7)

* B. List all defendants. You should state the full name of the defendants; even if that deferidant.is a government’
agency, an organization, a corporation, or an individual. Include the address where each defendant can be:
served. Make sure that the defendant(s) listed below: are identical to those contained i in the above caption.
Attach additional sheets of paper as necessary. -

Defendant No. 1 Name wp HAD. “Me Cp DN IN well.
| sweet Adiress_ [7/7 A ALLEG KE. WY em
County, City abst Po A- _
State & Zip Code _ a AL. \ t [Ban

er New FLauweky. : os Conn

Street Address -

 

 

 

   

 

. County, City:

S 2 “State & & Zip Code™: ree [ a a 5

 

 

 

S = Name

ae Street Address a “h
2 oes County, City.
ie - : ‘s State & % Zip Code

 

 

 

 

 

  
  

 

Street Address

 

“Defendant Ne 4

 

a . . County, City
’ State & Zip cid PO

 

 

  

Ie 4 Basis for Jurisdiction:

S : Federal courts @ are: cou sof limited jurisdiction. ‘Only two types ofc cases can n be heard i in federal ¢ court: cases .
“involving a federal question’ ‘and cases involving diversity of ‘citizenship of the: parties. Under 28 U.S.C. §: 1331, a-

* “ase involving the United States Constitution or. Federal laws or treaties is a federal question. case. “Under: 28 Uz S. Cc. §

eo ‘$75, 000 i is a diversity of citizenship case. HEE

A a rhat is ‘the basis for federal ¢ court iad (check all that st apply)
(on Federal I Questions : “i Q) Diversity- of Citizenship

   

BL Tfthe basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right is at
re ve CU a fk iy vg . “ ; cS oft .

 

 

 

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TE "Statement of Claim: : a ° a

7 A: oS ‘Where did the events s giving rise to 0 you ‘lai

Be a Whit date and approximate time did the events giving rise to’ your rclaim(s) occur?

 

 

” Whit -
_ happened
to you?

 

 

   

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Cui Ef the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

 

Defendant(s) state(s) of citizenship Ue

 

State as briefly as ‘postible the § facts sof y yout casé:: “Describe how each of the defendants ‘named in the caption of this
complaint is involved in this action, along with the’ dates ‘and locations of all relevant events. You may wish to.
include further’ details: such as the names of other persons involved in the events giving rise to your claims. Do not
cite any cases or statutes. If you intetid fo. allege: a number of related claims, number and s set forth each claim i ina.
separate palagreph .ttach additional sheets off paper as necessary. a:

      

 

 

 

4 id ae

 

 

 

 

 

 

 

 

Whe did
what?

 

 

 

 

Was
anyone
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involved?

 

 

 

 

Who else].
| sawwhat © 7. .
happened?: |: . .

 

  
   
  

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TV. Injuries:

If you sustained injuries related to the events alleged above; describe them and state what médical treatment, if any,

 

you required and received.

 

 

 

 

 

 

 

 

 

 

- State what you want the Court to'do for you and the amount of monetary compensation, if any, you are seeking, and

.. the basis for such compensation.

  
   
 

 

 

 

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ne Hig chile hs Le Kafe §

 

 

 

 

 

 

 

 

 

 

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Case 2:21-cv-03912-JHS . Document 1: Filed 09/01/21 PageSof7 °°

 
  

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I declare under penalty of perjury that the foregoing is true and correct.

Signed this 4 dayof SE PTEMBER. Bee oh . 20. 2. -

 

SS ‘Siete of? of Plaintiff: Dypiruces ts ole
| Mailing A Address Z, fox fein &

 

  

 

 

teow Number. 9} i CU. oo7 s
) Fax Number (i if you have ve one) .

- Emil Address \ aA i ): ; fea q west! (on.

 

 

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners must also
> provide their inmate numbers, present place of confinement, and address.

wy For Prisoners:

  
   

Ae declare ander  genatty oft perjury that on this _ oon day Of i 20. ‘; Fam delivering
this: complaint to prison authorities to be mailed to. the Clerk’s Office of the United States District Court for the”
‘ Eastern District of Pennsylvania. aoe here :

 

© Signature of Plaintiff. <..
| Inmate Number _

 

Rey. 10/2009 LB

 

 
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UNITED STATES DISTRICT COURT al
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category af the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: {lO 4 Faunce SF Pl. Da Pa (Su
Address of Defendant: { (| | Wy Alleho ny Wal Ave, PliQre Po ie de

C

lace of Accident, Incident or Transaction: On S$ LY Re ‘ oa | Hes h Sc ci /

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:
Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [ ] No [
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No [ |
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [| No [|
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No [|
case filed by the same individual?

I certify that, to my knowledge, the within case (is / (1 is not related to any case now pending or within one year previously terminated action in

this cburt except as noted above. \ me

/] Atiorney-at- Law / Pro Se ae Attorney LD. # (if applicable)

 

 

ff

 

CIVIL: (Place a ¥ in one category only)

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
OO 1. Indemnity Contract, Marine Contract, and All Other Contracts CJ 1. Insurance Contract and Other Contracts
CL] 2. FELA [] 2. Airplane Personal Injury
[] 3. Jones Act-Personal Injury [] 3. Assault, Defamation
CI 4. Antitrust [] 4. Marine Personal Injury

5. Patent [] 5. Motor Vehicle Personal Injury
4 6. Labor-Management Relations L] 6. Other Personal Injury (Please specify):
[*7. Civil Rights [] 7. Products Liability
(0 8. Habeas Corpus [] 8. Products Liability — Asbestos
L] 9. Securities Act(s) Cases L] 9. All other Diversity Cases
LJ] 10. Social Security Review Cases (Please specify):
(0 #11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

A

, counsel oftecord or pro se plaintiff, do hereby certify:

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

DATE: Sign here if applicable
Attorney-at-Law / Pro Se Plaintiff Attorney I.D. # (if applicable)

 

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ. 609 (5/2018)

 

 
